                                Case 3:20-cv-10222 Document 1-1 Filed 08/09/20 Page 1 of 5 PageID: 13
                                                          Exhibit A to the Complaint
Location: Hazlet, NJ                                                                                IP Address: 100.8.185.130
Total Works Infringed: 42                                                                           ISP: Verizon Fios
 Work     Hashes                                                                UTC          Site         Published      Registered   Registration
 1        Info Hash:                                                            07/21/2020   Vixen        07/03/2020     07/16/2020   PA0002248578
          E02F8C80023028A2401F5793C0B3A2ECB8318B40                              11:34:24
          File Hash:
          64539DC27FFBA4E7A77073AB89F09CF9AC2024D12B0A99D69A04B35C1D6C1387
 2        Info Hash:                                                            07/05/2020   Blacked      07/04/2020     07/20/2020   PA0002248966
          B68E8B8D5B139F0F6236FB409416C5F6EFF30FBF                              12:22:44
          File Hash:
          EC87A35B26CA48252E09A7221FEE19ACF078C658529E6A73527988F7C4700D7E
 3        Info Hash:                                                            07/03/2020   Blacked      07/09/2018     08/07/2018   PA0002131818
          67D95FCED9B00C108A63588568A4B4CC34737EE5                              21:00:21
          File Hash:
          2F08A480A39A433B92CB7BE753ED72122DDC6A8669D61337B266203F90B0E8D4
 4        Info Hash:                                                            07/03/2020   Blacked      11/03/2017     12/04/2017   PA0002098024
          739EB8A76A0350F7CA58F6464551E732BCED35C1                              17:37:05     Raw
          File Hash:
          9C6B9B36908FCF9D85FC6E69FB679F920DF5FBC01DEB1C565E84E0A9D1406806
 5        Info Hash:                                                            06/30/2020   Blacked      06/29/2020     07/17/2020   PA0002248598
          F3D4D2BA3F7C9DB5E751343237B5C323D5202A8A                              10:46:49     Raw
          File Hash:
          932CAD793217FBA3E070305DD1F146DAC984F9D642FFDEAF144527040F11B8D9
 6        Info Hash:                                                            06/29/2020   Blacked      04/10/2018     05/23/2018   PA0002101304
          A7B77E1226DA839D3A8F4DF03F9EF353E9E11502                              10:52:50
          File Hash:
          A9108D6691B6184CDFCF5E85D11B01704E33A40930AA9C3FCFC3DE75190EA3AF
 7        Info Hash:                                                            06/27/2020   Blacked      06/06/2020     06/22/2020   PA0002245636
          FA8728462CCFB62837C8FDD0E8E00CA4C85D407D                              17:04:21
          File Hash:
          6132CE2CEE67C20BD5F6A1FDC4E4EB33612E730805B86B2D4B99F5DA7BC057A4
 8        Info Hash:                                                            06/26/2020   Blacked      01/25/2019     02/22/2019   PA0002155136
          7180352F1197F512822C8C7B41CAADADB5C0F744                              12:15:20
          File Hash:
          7541C185F56D4723B2CCF4C638BC64A1C190F075277420F380D17EED9CB14EFF
                             Case 3:20-cv-10222 Document 1-1 Filed 08/09/20 Page 2 of 5 PageID: 14
Work   Hashes                                                             UTC          Site      Published    Registered   Registration
9      Info Hash:                                                         06/25/2020   Blacked   06/22/2020   07/16/2020   PA0002248579
       5A425FDB7FFB5049E12D808FDDA461C2F7407B34                           04:01:37     Raw
       File Hash:
       DF4B0D288618658DC49EB26217CF1544419BC25A96680CB513E8090162FC6E52
10     Info Hash:                                                         06/23/2020   Blacked   06/13/2020   06/22/2020   PA0002245632
       0E94A35D8DDDCC2BBF7FA2E0B60A768D34CE6A18                           12:12:07
       File Hash:
       FEADBB935D34439E2E4A513DB05EE2F63A59C7E34057C366B06E5FCD3C0F0E4E
11     Info Hash:                                                         06/19/2020   Blacked   06/15/2020   07/17/2020   PA0002248596
       DE59C5100B1D202279BE00C0B4A7D1F924FF279F                           08:12:40     Raw
       File Hash:
       36E448F6C97F91973F67AADA03FDA7D48824A4996A7D91BE1C1D8E0684354549
12     Info Hash:                                                         06/16/2020   Blacked   01/12/2020   02/04/2020   PA0002225587
       966AF5D11568D7D5896168F66E882245BA8A5F07                           17:59:34     Raw
       File Hash:
       13ABD2A124FF486B57001E7FB865A719FBB18B92F74EF38F6CD5ECA9744EBBE2
13     Info Hash:                                                         06/16/2020   Blacked   11/18/2019   12/09/2019   PA0002216261
       28D3A9EC7C6D3A6CA0C764EF6A4C9B3E0430CB8E                           17:38:13     Raw
       File Hash:
       1417D1E60436334A79D2822C80AED298E3266BFDD20924CF09A99BC161454E14
14     Info Hash:                                                         06/16/2020   Blacked   02/13/2019   03/24/2019   PA0002183197
       DAAB1603971461BD3D663620ED1313A2096BA184                           17:32:11     Raw
       File Hash:
       208C2094E936E0C81D7BE784548F4DEEC34975FA611D8D2CD633CCB4F288C2C3
15     Info Hash:                                                         06/16/2020   Blacked   04/06/2020   04/17/2020   PA0002237306
       28B8B31C792F1CA34A908834F37BBD4399E80A0C                           16:42:38     Raw
       File Hash:
       FF460F609C0680B6B4BD70DC2BE94C1ADA2A5BF2DF66C005BAEE0A1C35D407AD
16     Info Hash:                                                         06/16/2020   Tushy     07/20/2018   09/05/2018   PA0002134598
       1018A676073B24EB9A7384E7BF56686079E27B27                           13:03:10
       File Hash:
       14933E0910B60AF2E3929652EA75A2557D35397916823CC0D76B623CECFEAD2B
17     Info Hash:                                                         06/05/2020   Blacked   02/04/2020   02/20/2020   PA0002229052
       98A7396F4B2B73301521703E68688BD98063104D                           21:47:43
       File Hash:
       EC7F3F865D934F1594E5F8E53A103717F39DA69AEDA7FAD4BAD2A032D5AF4520
                             Case 3:20-cv-10222 Document 1-1 Filed 08/09/20 Page 3 of 5 PageID: 15
Work   Hashes                                                             UTC          Site      Published    Registered   Registration
18     Info Hash:                                                         06/02/2020   Vixen     03/25/2019   04/16/2019   PA0002187577
       605C9418209F27737FD241EF51A32CBFABAAB038                           14:42:55
       File Hash:
       829D6412707F891385AF6D5D9F69B5AD482B7B98A9A32076BD46AF58D55F6B74
19     Info Hash:                                                         06/02/2020   Blacked   12/26/2018   02/02/2019   PA0002155307
       3A3DD7C8DBB7E5B223555D26F27B64B7090A3E57                           11:32:46
       File Hash:
       08AD74E95AD3720928E97453FC2F04E16A2221467A2120B727DEE1BA6BF28384
20     Info Hash:                                                         06/02/2020   Blacked   12/08/2018   12/18/2018   PA0002141919
       A79E1BEA716422681872B46A4AC579C82B92D143                           10:31:33     Raw
       File Hash:
       4BFFA4BEDA4DA82D9C1C41DB5B85569501D6F5158228026CBE8B3B956EA24299
21     Info Hash:                                                         05/31/2020   Blacked   05/30/2020   06/22/2020   PA0002245635
       3E1B2FFC37EFD8FF20F15FE6983057183F446F26                           19:45:38
       File Hash:
       4D5D1DC20FBEF77EAB20063A078A377175BB0B7951ACC5760C752112F939349E
22     Info Hash:                                                         05/27/2020   Vixen     05/22/2020   06/22/2020   PA0002245640
       57E6E6788F406F1782D99B0799A5EEF8E110489F                           14:35:55
       File Hash:
       53769DE0CAB8EED27CBCECFD04DFC51122F7B461817906F4E8FEA8300B155A48
23     Info Hash:                                                         05/24/2020   Blacked   05/23/2020   06/22/2020   PA0002245638
       9E44731E8EC3B6FD476E0A33695303251A58C476                           21:10:38
       File Hash:
       6E310240066A7148AF3E41F974E2DF798485CC20CD9169B21ACB3B29F1F08140
24     Info Hash:                                                         05/23/2020   Blacked   06/14/2019   07/17/2019   PA0002188312
       6B99D7888151D0DF63F02064FA56A21363DA8C96                           15:12:41
       File Hash:
       82A7BC37315577F4D87CC9E1719E1C30EB0FA435768F3384B48E5F88AED32F20
25     Info Hash:                                                         05/17/2020   Vixen     05/15/2020   06/08/2020   PA0002243648
       BE70924185EC2FE7A36FEAD8E9509F907D1E761E                           12:56:19
       File Hash:
       6F61FD409AC3E01E50C396538E4726ECF5F3B1722D00FDCE02BC532ED09A7734
26     Info Hash:                                                         05/04/2020   Blacked   11/22/2019   12/17/2019   PA0002217672
       72906D84D8783BBD85422446F753190E587602DF                           07:22:21     Raw
       File Hash:
       5D29B63EE042AECC50E69817F835ADDA3C953B61CF929DBB55B296E7B95F6867
                             Case 3:20-cv-10222 Document 1-1 Filed 08/09/20 Page 4 of 5 PageID: 16
Work   Hashes                                                             UTC          Site      Published    Registered   Registration
27     Info Hash:                                                         05/03/2020   Blacked   05/02/2020   05/19/2020   PA0002241471
       1A68CEFD839B4A5FA014E644010905E3E4BAED62                           11:28:16
       File Hash:
       7CDA00D746D072CCE1C0D3344AD569A602F6BEC79989A46C3BD5B855AEA3089F
28     Info Hash:                                                         05/01/2020   Blacked   05/07/2018   06/19/2018   PA0002126670
       73F33BDDD94B5889A8E8758E88B3D09B30F3525E                           09:35:49     Raw
       File Hash:
       8856D5B47B9E13F4AC1D4A19073A027727F8EDB060128D3A34AFE7C5C64E9B7D
29     Info Hash:                                                         04/26/2020   Blacked   04/25/2020   05/05/2020   PA0002249013
       92EB5D7EDE376D128AFC8878A7325334E2534FDA                           16:10:33
       File Hash:
       7C61F266EF8B00566680AE94CEFE28426A98C93D2CF49719663D5EC3BB2C2AC3
30     Info Hash:                                                         04/25/2020   Blacked   01/25/2018   03/02/2018   PA0002104748
       2B47AB1AC715202A682205DE2386E9131256D398                           02:38:30
       File Hash:
       0EEE2F09CC14982FAD75DF20B02318B6C7DAF517D45ECB63ADF3B8B54CCB7A23
31     Info Hash:                                                         04/22/2020   Blacked   10/12/2017   10/19/2017   PA0002058296
       D629C1BE08933BB60DF199F6F24E3812EA2C6C73                           07:14:39
       File Hash:
       B6A76B9FE28D9B34D14C72456A036267F1B7DC9B3588D3E3564E883B38BA8042
32     Info Hash:                                                         04/22/2020   Blacked   11/13/2018   12/10/2018   PA0002145836
       B0CE169D460B3E10FDC06D60342FA7FD5FBE531B                           07:13:14     Raw
       File Hash:
       E701C43864BC713E4129A4F6CD46A51E0378F2B4D49F69835C388B372747A4C4
33     Info Hash:                                                         04/21/2020   Tushy     04/19/2020   05/05/2020   PA0002249081
       9D26ABBC31460C72C2A931FD255BB5411330C55D                           19:25:00
       File Hash:
       20280C6A4598B5E2F65EA9DFE4340609E631F37758734C36AE65691C820999F6
34     Info Hash:                                                         04/21/2020   Vixen     08/27/2019   09/17/2019   PA0002216129
       9D0E21B1D1C9024F4EF0D3735144C55F30ED31D0                           19:24:14
       File Hash:
       9DFCEE7F0D7B68230FA013942CE356F37B792EFF1C7A6C435ED842955671C8DC
35     Info Hash:                                                         04/21/2020   Blacked   06/24/2018   07/26/2018   PA0002112154
       8031B4A7A5CFCECBC796D4772440BFC5016C11AA                           12:42:37
       File Hash:
       6BC6E1D6C35FB48E06C6A8D7BBF0DF2769A8B15B04C14B904550055F04219187
                             Case 3:20-cv-10222 Document 1-1 Filed 08/09/20 Page 5 of 5 PageID: 17
Work   Hashes                                                             UTC          Site      Published    Registered   Registration
36     Info Hash:                                                         04/20/2020   Blacked   02/14/2020   03/18/2020   PA0002241448
       45BD7EB6EC3A335403A10A66A52919DBE8FD0208                           13:13:26
       File Hash:
       47593DA825F7E009DDDAFC9CE9441BCF2700161C4B34D88DAB2AD0E59273C81B
37     Info Hash:                                                         04/19/2020   Blacked   04/18/2020   05/19/2020   PA0002241472
       658A037574D2B240AC4EBC859BED1EF255083CC4                           10:34:32
       File Hash:
       F6F25896450D77C9B994C19A02555EEB05D092E47D0C3BF0A30820FBE105B71F
38     Info Hash:                                                         04/16/2020   Blacked   04/20/2018   05/23/2018   PA0002101307
       6485D2C06BE7023990B69BE93812D5066B963ED4                           12:43:07
       File Hash:
       6BD50384C2A3D1B2EB118CCD6446810BFA75029F99661CE43DE6218B26DE128D
39     Info Hash:                                                         04/13/2020   Blacked   04/13/2020   04/22/2020   PA0002237695
       F9868546BBF9264CB4609B0C107CBE45ACA74091                           20:30:05     Raw
       File Hash:
       6BF10EE11AF1973ADB109573502645CC2728A0B4627C4B292E438948214CDE5F
40     Info Hash:                                                         04/13/2020   Vixen     03/05/2019   03/31/2019   PA0002163982
       7724965CFD0EFA204861E4994E4C375734FAC910                           11:07:05
       File Hash:
       286323955D74354AFF7C69BDC5987ADA524396D42AE7DC47C1CC0BFC5ECC40F6
41     Info Hash:                                                         04/13/2020   Blacked   09/12/2019   09/25/2019   PA0002203159
       B1837EFE5563C154EEE2F1BE8D008DE5C8C7CD43                           10:53:37
       File Hash:
       099279FAB0CB709722E36CA4703FBC00BE876F9EA6F23108082898D12073FAFC
42     Info Hash:                                                         04/12/2020   Blacked   04/11/2020   04/22/2020   PA0002237696
       6ABA9CF9E4EBF6B07494AD041CFADF9F248F2933                           12:28:48
       File Hash:
       C8C6F22464849C0C0886B6FA6C624CECB7FEC5801EF97EBC00EB918B7D1D2B43
